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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS

LPP COMBUSTION, LLC,

                       Plaintiff,
                                              Case No. 6:21-cv-1343-ADA
v.

GENERAL ELECTRIC COMPANY, GE                  JURY TRIAL DEMANDED
DIGITAL, and GE GAS POWER

                       Defendants.


     PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS FIRST
          AMENDED COMPLAINT FOR FAILURE TO STATE A CLAIM
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   I.       INTRODUCTION

         GE filed a Motion to Dismiss LPP’s First Amended Complaint (“FAC”) pursuant to

12(b)(6) for failure to state a claim and 12(b)(3) for improper venue. The parties agreed to bifurcate

briefing. Dkt. 21 (Plaintiff’s Notice of Intent to Proceed with Venue Discovery) at 2. Accordingly,

LPP hereby responds to the Rule 12(b)(6) components of GE’s motion in accordance with this

Court’s Local Rules.

         On the pleadings, GE asks this Court to weigh in on a key claim construction dispute and

to rule that GE’s Accused System does not infringe the asserted claims when construed in a manner

that favors GE. But GE does not propose a specific construction of the disputed “inert” diluent

gas. It does not cite intrinsic or extrinsic support for how the disputed language should be

construed. And it refuses to engage an express discussion from the European prosecution of a

related patent in which the meaning of the disputed language was discussed in extensive detail in

a manner contrary to GE’s interpretation. Instead, GE urges the Court to go with its gut and find

that GE could never infringe as a “matter of common understanding.” The Court should decline

GE’s offer. Not only does GE’s interpretation of the claim language conflict with even the limited

record on the pleadings, a full record at Markman will reveal that GE’s interpretation conflicts

with both the intrinsic record and basic combustion science.

         GE also argues that the Court should dismiss LPP’s claims alleging that GE does not

understand specifically how the Accused System infringes. As set forth in its FAC, LPP has alleged

every public detail regarding the Accused System, satisfying its 12(b)(6) obligation. GE fails to

provide any authority for its argument that LPP is obligated to support its pleadings with details

outside the public purview. Tellingly, GE does not come forward with public information showing

that LPP’s understanding and description of the Accused System is incorrect.
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           Governing precedent is clear that (1) claim construction is not properly resolved on the

pleadings and (2) an infringer cannot avoid liability by infringing in secret. Accordingly, GE’s

motion to dismiss pursuant to Rule 12(b)(6) should be denied.

    II.       LEGAL STANDARD

           To survive a motion to dismiss under Rule 12(b)(6), a complaint must “contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)). To meet this requirement,

the plaintiff must plead “factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged”; put another way, the plaintiff must do more

than plead facts “‘merely consistent with’ a defendant's liability.” Id. (quoting Twombly, 550 U.S.

at 556–57, 127 S.Ct. 1955). When ruling on a motion to dismiss under Rule 12(b)(6), the court

accepts all well-pleaded factual allegations as true and construes all reasonable inferences in favor

of the plaintiff. Id.

    III.      OVERVIEW OF THE TECHNOLOGY

           Each of the Asserted Patents relate to combusting fuel. To simplify the discussion, LPP

describes the patented technologies in the context of turbines designed to combust lean, premixed

natural gas. 1 As explained by the ’396 Patent, in this type of turbine, “natural gas is premixed with

[oxygen-rich] combustion air prior to arrival at the flame front” in the combustor, which “burns at

a lower temperature than conventional diffusion flame combustors, thereby producing lower levels

of pollutants.” Dkt. 22-12 (Ex. K – ’396 Patent), 1:30-38. This process is depicted below:




1
 Although not limited to natural gas turbines, the Asserted Patents all treat lean, premixed natural
gas turbines as exemplary. Further, the Accused System employs these same natural gas turbines.

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       The ’396 Patent proposes a solution to enable combusting alternative fuel gases (e.g.,

higher hydrocarbon fuels such as ethane (C2H6)) in turbines designed to burn lean, premixed

natural gas. Dkt. 22-12 (Ex. K – ’396 Patent) at 1:30-53. Prior attempts to burn such alternative

fuels in lean, premixed natural gas turbines failed due to a phenomenon known as auto-ignition.

Id. at 1:53-2:7. Namely, higher hydrocarbon fuels such as ethane, when vaporized into air from

their liquid fuel state—the then-standard process for using liquid fuels in gas turbines—would

spontaneously ignite prior to the turbine’s combustion chamber, decreasing efficiency and even

causing physical damage to the turbine. Id. Put simply, vaporizing ethane into oxygen-rich air

creates a more easily ignitable gas than natural gas. This more easily ignitable gas exceeds the

designed limits of the natural gas turbine and combusts prematurely. To avoid the auto-ignition

problem, the ’396 Patent proposes diluting the alternative fuel by vaporizing it into a reduced

oxygen gas stream (referred to in the claims as a “diluent gas”) such that the resulting fuel gas

remains within the designed limits of the turbine, preventing auto-ignition. Id. at 2:53-3:13. This

solution is depicted in Fig. 1(a) below:




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Id. at Fig. 1(a) (annotated). As depicted, a liquid fuel such as ethane (blue) is vaporized into a

“reduced oxygen gas stream” (red) such that the resulting mixture (purple) remains within the

turbine’s designed limits and avoids igniting prematurely. As with the standard lean, premixed

natural gas turbine, an oxygen-rich gas stream is introduced in the combustor prior to the flame

front to render the resulting mixture (purple) combustible. The ’396 Patent claims all capture this

process. Each requires producing a “fuel gas” (purple) using a “liquid fuel” (blue) and a “diluent

gas” (red) and exposing this resulting mixture to a “second gas containing oxygen” upstream of

the combustion zone. Id. at Claim 1.

       The ’396 Patent emphasizes the importance of low oxygen content in the diluent gas and

explains that the goal is to ensure the oxygen remains low enough in the “diluent gas” to prevent

combustion:

       The reduced oxygen gas stream source 2 produces a gas stream with an oxygen
       content that is reduced relative to ambient air, which is commonly taken as
       containing approximately 21% O2. In some embodiments of the invention, the
       reduced oxygen gas stream has an oxygen content below the limiting oxygen index.
       The limiting oxygen index (LOI) is the concentration of oxygen in the local


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         environment below which a material will not support combustion and varies for
         different types of liquid fuels. The LOI is typically between about 10% and about
         14% and is approximately 13% for many higher hydrocarbon fuels. The more the
         oxygen content of the gas stream from the source 2 is reduced, the more auto-
         ignition is suppressed.

Id. at 6:8-20 (emphases added). The ‘396 Patent contemplates many options for reduced oxygen

content gasses that qualify as diluent gasses in the described invention. In one example, the patent

expressly contemplates a diluent gas with such low oxygen content that it is considered “inert”

from a combustion perspective. In other example, the reduced oxygen diluent gas diluent gases

that contain hydrocarbons such as methane—the primary component in natural gas. Id. at 6:27-31.

         The ’080 Patent and ’924 Patent are directed toward the same general technology, but focus

on different aspects. Namely, each describes and claims a supporting process that monitors fuel

properties—either the fuel characteristics or characteristics of the fuel’s combustion—and makes

adjustments to ensure the fuel remains within the turbine’s specifications. To make such

adjustments, the patents contemplate adding a combustion enhancer or a combustion retardant to

the primary fuel feed. See Dkt. 22-15 (Ex. O – ’080 Patent); Dkt. 22-13 (Ex. M – ’924 Patent).

   IV.      ARGUMENT

            A. GE’s Primary Arguments Turn on Claim Construction and Non-
               Infringement—Issues That Should Not be Resolved on the Pleadings

         GE asks this Court to dismiss the FAC’s ’396 Patent allegations on the basis that natural

gas can never be the claimed “inert” diluent gas. Dkt. 24 (Renewed Motion to Dismiss) at 11-13.

In support, GE simply asserts as fact that “[i]t is ‘a matter of common understanding’ that natural

gas is not inert ‘under any reasonable construction of the relevant terms.’” Id. at 13. GE is wrong.

Properly construed, the claimed inert diluent gas need not be of a chemical makeup that is inert in

all contexts, as GE implies. Instead, it must be inert from a combustion reaction perspective, i.e.,

it must be a gas of sufficiently low oxygen content that it will not combust. GE is similarly wrong



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about the alleged “common understanding” that natural gas can never be “inert.” The process of

“inerting” a combustible gas by decreasing its oxygen content is well understood in the combustion

sciences, and natural gas delivered to power plants (such as those that implement the Accused

System) is generally guaranteed by contract to have an oxygen content well below the point at

which the gas is considered inert from a combustion perspective. This is both a function of the low

oxygen content of natural gas as it is extracted and the safety concerns that would arise from

transporting highly combustible gas in pipelines. As discussed in the technology overview above,

the subject turbines insert high oxygen content gas before the flame front to convert the inert

natural gas (as delivered) into a combustible gas.

       These are inescapably fact-intensive inquiries. To resolve the proper construction of “inert”

and to determine whether the natural gas delivered to GE’s Accused System satisfies the proper

construction will require a fully developed record that sets forth the relevant intrinsic evidence

from the ‘396 Patent, extrinsic evidence in the art, discovery into the Accused System, and

potentially expert testimony on both questions. None of that evidence is available to the Court

today, which is why courts, including in this district, consistently decline such invitations to

address claim construction and infringement arguments at this preliminary stage. Nalco Co. v.

Chem-Mod, LLC, 883 F.3d 1337, 1349-50 (Fed. Cir. 2018) (finding the district court dismissal

was reversible error and stressing that “objections to [a plaintiff’s] proposed claim construction

[is] a dispute not suitable for resolution on a motion to dismiss”); Unification Techs. LLC v. Dell

Techs., Inc., No. 6:20-CV-00499-ADA, 2021 WL 1343188, at *3 (W.D. Tex. Jan. 28, 2021) (“As

UTL correctly asserts, a 12(b)(6) motion is not the appropriate procedure for identifying

inconsistent direct infringement contentions. Those are premature assertions that are best

addressed in claim construction or non-infringement positions.”). Court’s also decline to rule on




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claim construction at the 12(b)(6) stage based on local rules. Fujitsu Ltd. v. Belkin Int'l, Inc., 782

F. Supp. 2d 868, 890 (N.D. Cal. 2011); see also Pfizer Inc. v. Apotex Inc., 726 F.Supp.2d 921, 938

(N.D.Ill.2010) (denying dismissal of the defendant's counterclaims for failure to satisfy Rule 8(a)

because doing so would undermine the court's local patent rules, which require more detailed

disclosures at a later stage). This District’s Local Rules establish the proper procedure for claim

construction proceedings. Thus, addressing claim construction at this early stage undermines the

local patent rules carefully set forth by this district.

        GE’s motion seeks a final ruling in this case before discovery has even begun. But it is

black letter law that a plaintiff need not “prove its case at the pleading stage.” In re Bill of Lading

Transmission & Processing Sys. Patent Litig., 681 F.3d 1323, 1339 (Fed. Cir. 2012)

(citing Skinner, 562 U.S. at 529–30, 131 S.Ct. 1289). The complaint must place the “potential

infringer ... on notice of what activity ... is being accused of infringement.” K–Tech Telecomms.,

Inc. v. Time Warner Cable, Inc., 714 F.3d 1277, 1284 (Fed. Cir. 2013). LPP’s FAC clearly exceeds

the minimum requirements under Rule 12(b)(6), especially as “the Federal Rules of Civil

Procedure do not require a plaintiff to plead facts establishing that each element of an asserted

claim is met.” Bill of Lading, 681 F.3d at 1335.

        Dismissal is particularly inappropriate here, where GE asks the Court to ignore the intrinsic

record and dismiss a case based on the gut reaction that natural gas cannot be an “inert” diluent

gas. As explained below, this proposed conclusion conflicts with even the limited pleading record

before the Court.

                      1) The record disputes GE’s interpretation of “inert”

        As explained in the FAC, the meaning of the term “inert” was directly addressed during

the prosecution of a related European patent. Dkt. 22 (FAC) at ¶ 19. Specifically, during




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prosecution of this related patent, the applicant explained: “[i]t should also be understood that

“inert” is context-sensitive and is understood to be so by the person skilled in the art.” Dkt. 22-17

(Ex. Q – European Prosecution History) at 3. The applicant elaborated that, “[a]s a matter of

common understanding, ambient air is inert with respect to some substances (e.g., diamond) but

not others (e.g., hydrocarbon fuels).” Id. This is wholly consistent with the ’396 Patent’s emphasis

on the oxygen content as the primary consideration for an effective diluent gas. As set forth in the

Technology Overview above, the ’396 Patent sought to solve the then-existing problem that

vaporizing higher hydrocarbon fuels such as ethane into air caused the resulting gas to

spontaneously ignite prior to the turbine’s combustion chamber. This is because ambient air in that

context has a sufficiently high oxygen content that it facilitates ethane combustion. Accordingly,

despite the fact that ambient air is “inert” with respect to certain materials (e.g., diamonds), it is

very much not inert from a combustion perspective when used to vaporize higher hydrocarbons

such as ethane in a turbine environment.

       In its renewed motion, GE briefly acknowledges LPP’s allegations related to the European

prosecution, but erroneously concludes (without support from record evidence) that “[n]atural gas

cannot simultaneously be both” an inert gas and a fuel that combusts. Dkt. 24 (Renewed Motion

to Dismiss) at 13. This misunderstanding of both the claims and of basic combustion science

permeates GE’s motion. As a fully developed litigation record will reveal, natural gas delivered to

power plants contains a very low oxygen content—so low that the delivered natural gas is

considered inert from a combustion perspective. As explained by the ’396 Patent and depicted

below, in the type of natural gas turbines at issue here, “natural gas is premixed with [oxygen-rich]

combustion air prior to arrival at the flame front” in the combustor.” Dkt. 22-12 (Ex. K – ’396

Patent), 1:30-38.




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Accordingly, although natural gas is inert as delivered to the power plant, it becomes combustible

when oxygen is added in the combustor. Thus, contrary to GE’s baseless assertions, natural gas is

in fact both an inert gas when delivered to the power plant and also a fuel that combusts (when

mixed with oxygen-rich combustion air).

                    2) GE does not dispute that natural gas in the accused system embodies the
                       claimed attributes of an inert diluent gas

       As GE correctly notes in its renewed motion, the ’396 Patent claims impose certain

functional requirements on the claimed inert diluent gas. Dkt. 24 (Renewed Motion to Dismiss) at

12-13. Namely, the claimed gas prevents auto-ignition “that would occur if the vaporized fuel were

to be premixed with the second gas containing oxygen without any diluent gas being present.” Id.

at 12. In the context of the instant allegations, this means that natural gas in the Accused System

prevents auto-ignition that would have occurred were ethane vaporized directly into air (i.e., into

a high oxygen content gas).

       LPP alleges that GE’s system vaporizes ethane into a natural gas stream at a rate of up to

25% ethane upstream of the combustion zone. Dkt. 22 (FAC) at ¶ 19. Based on their relative

properties, vaporizing ethane into the natural gas stream prevents a reaction (e.g., auto-ignition)

upstream of the combustion zone that would have occurred were ethane vaporized into air. Id. GE



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does not deny that, were the Accused System to vaporize ethane into air, auto-ignition would occur.

Indeed, this is the precise problem identified in the ’396 Patent, which the patented technology

sought to solve. Nor does GE deny that vaporizing ethane into natural gas in the Accused System

prevents auto-ignition. Finally, GE does not deny that the reason auto-ignition is avoided in the

Accused System relates directly to the low oxygen content of its natural gas.

       Because GE does not dispute that natural gas in the Accused System satisfies the

requirements of the claimed inert diluent gas, this Court should reject GE’s argument that the FAC

fails to plausibly allege infringement.

                     3) LPP’s infringement allegations are not inconsistent

       Although GE’s primary argument turns on the “inert” language in the ‘396 Patent claims,

it also challenges LPP’s allegations directed to the ’924 and ’080 Patents. Namely, GE argues that

mapping natural gas as a “fuel” for the ’080 and ’924 Patents is inconsistent with mapping natural

gas as an “inert” diluent gas for the ‘396 Patent. Dkt. 24 (Renewed Motion to Dismiss) at 13-14.

According to GE, this alleged inconsistency warrants dismissing LPP’s infringement allegations

with respect to each of the Asserted Patents. Id. GE’s argument fails for several reasons.

       First, GE’s arguments turn entirely on alleged inconsistencies. GE does not provide the

Court any independent justification for dismissing the allegations directed to the ’080 and ’924

Patents. Indeed, even if the Court were to accept GE’s arguments that natural gas can never satisfy

the inert diluent gas limitations in the ’396 Patent claims, GE provides no independent reason that

natural gas cannot be the claimed “gaseous fuel” in the ’080 and ’924 Patent claims. Even

accepting GE’s argument that there are inconsistent theories across the distinct patents—there are

not—GE cites no authority supporting the proposition that such inconsistencies merit complete

dismissal. In GE’s first cited case, Smith v. Medtronic, the court dismissed a complaint filed by a




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plaintiff for a products liability claim where the plaintiff failed to specify which section of the

statute governed her claim. Smith v. Medtronic, Inc., No. CIV.A. 13-451, 2014 WL 2547813, at

*6 (W.D. La. June 4, 2014). And GE’s second cited case, De La Vega v. Microsoft, related to a

case where the plaintiff failed to plead facts supporting a joint infringement claim. De La Vega v.

Microsoft Corp., No. W-19-CV-00612-ADA, 2020 WL 3528411, at *4 (W.D. Tex. Feb. 11, 2020).

Neither even remotely support GE’s argument that inconsistent allegations across distinct patents

merit full dismissal.

       Second, as discussed above, a fully developed litigation record will reveal that natural gas

is delivered to power plants with a very low oxygen content—so low that the delivered natural gas

is considered “inert” from a combustion perspective. As explained by the ’396 Patent and depicted

below, in the type of natural gas turbines at issue here, “natural gas is premixed with [oxygen-rich]

combustion air prior to arrival at the flame front” in the combustor.” Dkt. 22-12 (Ex. K – ’396

Patent), 1:30-38.




Accordingly, although natural gas is inert as delivered to the power plant, it becomes combustible

when oxygen is added in the combustor. Thus, contrary to GE’s arguments, natural gas is in fact

both an inert gas when delivered to the power plant and also a fuel that combusts (when mixed

with oxygen-rich combustion air).




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       Finally, contrary to GE’s argument, LPP does in fact map natural gas as a fuel in its

allegations for all three patents. As GE notes, LPP alleges that natural gas satisfies the claimed

“gaseous fuel” in the ’924 and ’080 Patent claims. But LPP also maps natural gas as a constituent

component of the claimed “fuel gas” in the ’396 Patent claims. Namely, the ‘396 Patent claims

recite “producing a fuel gas using a liquid fuel comprising hydrocarbon molecules and a diluent

gas.” Dkt. 22-11 (Ex. K – ’396 Patent) at Claim 1 (emphasis added). Accordingly, by mapping

natural gas to the claimed “diluent gas” in its ‘396 Patent allegations, LPP has consistently alleged

that natural gas is a component of fuel gas across all three asserted patents.

           B. GE Has Notice of the Accused System and How the Accused System Infringes

       In its original 12(b)(6) motion, GE argued that LPP had failed to provide adequate notice

of an accused product. Dkt. 18 (Motion to Dismiss) at 11-12. In response, LPP filed its FAC, which

cites every relevant public detail relating to GE’s system, as well as the parties’ past dealings that

inform LPP’s allegations. In its renewed Motion to Dismiss, GE no longer disputes that LPP has

adequately identified an accused system. GE now argues that LPP has failed to adequately explain

how specifically the Accused System operates with respect to the Asserted Patents. Dkt. 24

(Renewed Motion to Dismiss) at 10-11 (conceding that LPP has identified the accused product,

but arguing LPP “fails to identify any facts that plausibly support an inference that the [accused

product] does infringe”).

       LPP’s allegations turn on three key sets of operative facts, which are detailed in the FAC.

Dkt. 22 (FAC) at ¶¶ 11-14. First, the parties collaborated extensively to implement the patented

technology, including drafting business plans for a system designed to mix 25% ethanol with 75%

natural gas to be combusted in a natural gas turbine. Throughout this process, the collaborating




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participants knew this solution implicated LPP’s patents. 2 Second, GE publicly announced that it

sold a nearly identical solution (in Fairview, PA) that mixes 25% ethane with 75% natural gas.

Third, shortly after learning of LPP’s technology and patent filings, GE filed its own patent

application directed to “blending a desired amount of alternate gas into a primary natural gas fuel

for a DLN combustion gas turbine,” which expressly teaches that “[t]he alternate gas may be . . .

ethane[.]” Ex. A, U.S. Patent No. 7,895,821 (“the ’821 Patent”). Given the precise overlap, LPP

has alleged, on information and belief, in its FAC that certain features described in the ’821 Patent

have been implemented in GE’s infringing system.

       GE does not deny that the parties collaborated as alleged. It does not deny that it installed

the ethane/natural gas mixing technology in Fairview, PA as alleged. Nor does it deny that the

‘821 Patent features cited in LPP’s pleadings have in fact been implemented in the Accused

System. GE’s arguments turn instead on (1) carefully crafted statements about its use of the ’821

Patent, (2) mischaracterizing LPP’s allegations, and (3) demands for more detail that are

unsupported by law. Dkt. 24 (Renewed Motion to Dismiss) at 10-11.

                     1) GE does not deny that it uses the ‘821 Patent features cited in LPP’s
                        pleadings

       The FAC alleges, “on information and belief, Defendant’s Accused System includes

certain features that are described in the ‘821 Patent.” Dkt. 22 (FAC) at 28; see also Dkt. 22-12

(‘396 Patent claim chart) (similar statement re ’821 Patent), Dkt. 22-14 (‘924 Patent claim chart)

(same), Dkt. 22-16 (‘080 Patent claim chart) (same). The FAC continues, “[f]or an avoidance of

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  GE incorrectly asserts that the parties “had a brief history” that ended more than a decade ago.
D.I. 24 (Renewed Motion to Dismiss) at 1. In fact, since the 2012 collaboration referenced in the
FAC, the parties have had repeated and substantive contacts, including extensive communications
in 2016 and 2017 regarding GE’s engineering review of LPP’s proposal to combust ethane at the
Marcus Hook energy plant in Pennsylvania. In fact, as recently as 2020-2021, LPP and a Houston-
based GE entity have been collaborating on technical issues related to high pressure liquified
petroleum gas blends. It should be noted that a number of these substantive contacts over the last
decade were initiated by GE.

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doubt, LPP’s allegations do not depend on the Accused System practicing the claims of the ’821

Patent.” Id.

       GE does not deny that the Accused System implements the specific ’821 Patent features

and functionalities identifies in LPP’s FAC and associated claim charts. Instead, GE makes two

assertions, neither of which addresses LPP’s actual allegations. First, GE claims “the ’821 patent

is not used by any of the named defendants (Rodts Decl., ¶ 17; Morimoto Decl., ¶ 9).” Dkt. 24

(Renewed Motion to Dismiss) at 10. GE does not elaborate as to what “is not used” means in this

context. To the extent that language has any accepted meaning in patent law, it is that GE contends

it does not practice the claims of the ’821 Patent. Indeed, both declarants cited in support use the

phrase “covered by the ’821 Patent” (Dkt. 24-1 at ¶ 17, Dkt. 24-2 at ¶ 9)—a phrase that similarly

connotes practicing the claims of a patent. The only relevant question is whether the Accused

System uses specific features and functionalities described in the ’821 Patent. On this point, GE is

silent. Accordingly, GE’s attempt to paint the ’821 Patent as irrelevant to the instant case should

be rejected.

       Second, GE argues that “LPP identifies no connection between the ’821 patent and the

Fairview system, nor any instance of a defendant marking a product or marketing a product with

the ’821 patent.” Dkt. 24 (Renewed Motion to Dismiss) at 10. Neither statement denies LPP’s

actual allegations with respect to the ’821 Patent—that the Accused System uses the specific ’821

Patent features and functionalities identified in the claim charts submitted with the FAC (Dkt. 22-

12, Dkt. 22-, and Dkt. 22-16).

                     2) LPP’s allegations do not turn entirely on the ’821 Patent, as GE
                        incorrectly argues

       GE next argues that LPP “relies solely on GE’s ’821 patent to support its allegations” and

points out that “the ’821 patent contains no disclosure directed to the vaporization of a liquid fuel



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(allegedly ethane)—an element of all of the asserted ’396 patent claims—and what seems to be

the foundation of LPP’s complaint.” Dkt. 24 (Renewed Motion to Dismiss) at 10-11. Not only is

GE wrong on multiple discrete points, it’s broader suggestion that LPP failed to allege a vaporizer

in the Accused System is patently false.

       First, GE is wrong that “all of the asserted ‘396 patent claims” recite a vaporizer. Only

Claim 10 and its dependents recite a “fuel vaporization unit.” Dkt. 22-12 (‘396 Patent claim chart).

       Second, and more importantly, GE is also wrong to state that LPP’s allegations rely solely

on GE’s ’821 Patent and to suggest that LPP has failed to support the allegation that GE vaporizes

ethane in the Accused System. Indeed, LPP’s ’396 chart submitted with the FAC has repeated

references to evidence other than the ’821 Patent, and LPP has cited that additional evidence to

allege that the Accused System does in fact vaporize ethane into natural gas. See Dkt. 22-12 (‘396

Patent claim chart) at 4 (citing press release regarding the Fairview plant that explains “[a] GE

vaporizer ‘the size of a delivery truck’ can turn liquid ethane from the pipeline into a gas that can

be blended into natural gas to make a fuel mixture up to 25% ethane”), 10 (same), 14 (same).

                     3) GE cannot escape liability by infringing in secret

       It is well established that GE cannot insulate itself from liability by infringing in secret. K-

Tech Telecommunications, Inc. v. Time Warner Cable, Inc., 714 F.3d 1277, 1286 (Fed. Cir. 2013)

(explaining that the inability to “point to the specific device or product” that performs a claimed

feature “should not bar [the] filing of a complaint” “especially when the operation of those systems

is not ascertainable without discovery”); Raytheon Co. v. Cray, Inc., No. 216CV00423JRGRSP,

2017 WL 1362700, at *4 (E.D. Tex. Mar. 13, 2017), report and recommendation adopted, No.

216CV00423JRGRSP, 2017 WL 1344900 (E.D. Tex. Apr. 12, 2017) (“There is no reason to think

that the Federal Circuit's view would be different under the Iqbal/Twombly standard given the




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Court's primary concern: ‘A defendant cannot shield itself from a complaint for direct

infringement by operating in such secrecy that the filing of a complaint itself is impossible.’”)

(emphasis added) (internal citations omitted). LPP’s allegations incorporate every public detail

about the Accused System, and GE does not suggest otherwise. Accordingly, LPP has satisfied the

governing pleading standard, and GE cannot escape liability by keeping secret pertinent details of

its infringement.

           C. GE’s Indirect Infringement Challenge Ignores the FAC

        GE argues that LPP’s indirect infringement allegations fall with its direct infringement

allegations. Dkt. 24 (Renewed Motion to Dismiss) at 14-15. For all the reasons discussed above,

LPP’s direct infringement allegations are properly supported and should not be dismissed.

        GE also retains what appears to be a holdover argument from its original motion to dismiss,

briefly arguing that LPP failed to provide any detail supporting the allegation that GE knew of the

asserted patents. Id. at 15. In response to this same argument set forth in GE’s original motion to

dismiss, LPP alleged details in its FAC regarding a meeting conducted over three days in June of

2012 that focused on implementing LPP’s patented technology, including specifically blending

ethanol into natural gas. Dkt. 22 (FAC) at 12. LPP even provided a full list of participants and the

GE entity with which they were then affiliated. Id. GE’s renewed motion does not respond to (or

even acknowledge) these more detailed allegations. Accordingly, GE’s indirect infringement

arguments fail to address the actual record and should be rejected.

   V.      CONCLUSION

        For the foregoing reasons, LPP respectfully requests that the court deny GE’s Motion to

Dismiss First Amended Complaint pursuant to 12(b)(6).




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                                               Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on this the 15th day of April, 2022 to all counsel of record who are

deemed to have consented to electronic service via the Court’s CM/ECF system per Local Rule

CV-5(b).


                                                   /s/ Melissa R. Smith
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